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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  MOHAMMED ABDULMALIK,

                 Petitioner,

                        v.                        Civil Action No. 08-1440 (CKK)

  BARACK H. OBAMA, et al.,

                 Respondents.




                                       STATUS REPORT

       Pursuant to the Court’s Minute Order of September 30, 2015, the Petitioner submits this

status report. Respondents’ counsel has also reviewed this report.

       Since the last status report of September 30, 2015, (ECF No. 235), undersigned counsel

met with Petitioner on March 15-16, 2016, and reviewed report. Petitioner indicated he would like

to continue the stay of his habeas case until his Periodic Review Board (PRB) hearing is completed.

Undersigned counsel, therefore, requests that the Court grant an additional four-month extension

of the stay of this matter to and including July 30, 2016.

       Pursuant to LCvR7(m), counsel has met and conferred with counsel for the Department of

Justice, Robert Prince, who does not oppose this request.

       The Petitioner proposes to file another Status Report at the conclusion of the four-month

period of the Stay.
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Dated: March 30, 2016        Respectfully submitted,

                             /s/ Darin Thompson
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